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12                         UNITED STATES DISTRICT COURT
13                       CENTRAL DISTRICT OF CALIFORNIA
14                                  WESTERN DIVISION
15
16    JENNY LISETTE FLORES., et al.,            Case No. CV 85-4544-DMG-AGRx
17                    Plaintiffs,               PLAINTIFFS’ RESPONSE TO ICE
18                                              AND CBP JUVENILE
            v.                                  COORDINATORS’ REPORTS
19
      MERRICK B. GARLAND, Attorney              [DOC. ## 1240-1, 1240-2]
20    General of the United States, et al.,
21
                      Defendants.
22
23                                              [HON. DOLLY M. GEE]

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25   ///
26
27
28

                                                      PLAINTIFFS RESPONSE TO JUV COORDINATOR REPORTS
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                                                         PLAINTIFFS RESPONSE JUV COORD REPORTS
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 1
           The Court’s Order of February 7, 2022 (“Order”) [Doc. # 1229] requires in
 2
     part that each Juvenile Coordinator will report on: (i) the census of minors in each
 3   of the agency’s facilities; (ii) the average length of stay for minors currently in the
 4   agency’s facilities and for minors who have been released, with more details to
 5   assist the Court and the parties in tracking these metrics; (iii) the number of minors
 6   currently testing positive for COVID-19; and (iv) whether the Juvenile
 7   Coordinator has adequate personnel or other capacity to provide detailed
 8   monitoring of new or expanded facilities. Id. at 1.
 9         1.     ICE JUVENILE COORDINATOR’S REPORT
10         The Order also requires that the ICE interim report shall cover the topics
11   listed in the November 15, 2021 Order [Doc. # 1203] and compliance with the
12   Court’s Order regarding any minors held under Title 42 authority [Doc. # 976]
13   with respect to any facilities in which ICE receives Class Members, and (i)
14   specific explanations for the continued detention of minors beyond 20 days; (ii)

15   updates on the number, locations, and safe and sanitary conditions of the hotels

16   used to process families, and the length of stay therein; and (iii) updates on ICE
     policies regarding the use of the hotels or of the Family Staging Centers (“FSC”),
17
     including policies and procedures to address COVID-19. Order at 2.
18
           The ICE Juvenile Coordinator April 8, 2022 Report (Doc. #1240-2) (“ICE
19
     Report”) states in part that ICE “no longer maintains facilities that house
20
     [accompanied] Class Members,” and “there are no plans to re-implement any of
21
     these facilities in the future.” ICE Report at 2.
22
           However, ICE also states it is continuing to “monitor and consider its
23
     options,” and to address the “dynamic needs of the southwest border.” Id. Its
24
     future plans cannot be “precisely predicted,” and in “limited circumstances” ICE
25
     may still detain Class Members in facilities under Paragraph 21 of the Flores
26   Agreement. ICE Report at 1-2.
27         The ICE Report further states that while the Endeavors and MVM hoteling
28   programs “have ceased,” ICE Report at 2, “ICE may need to utilize other hotels

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 1   on an ad hoc basis, consistent with the court's September 4 and September 21,

 2   2020 orders.” Id.

 3          While Plaintiffs welcome recent developments regarding the detention of

 4   accompanied Class Members, changes that should significantly reduce or possibly
     for now even eliminate Flores compliance issues, they remain concerned that on
 5
     an “ad hoc” basis ICE may resort to detaining Class Members in hotels that are
 6
     almost certainly not licensed as required by the Flores Agreement and also likely
 7
     will not provide the conditions and programs required by the Agreement.
 8
     Plaintiffs respectfully suggest that the Court should inquire:
 9
            • What does ICE mean when it says that on an “ad hoc” basis it may detain
10
     Class Members in hotels?
11
            • What hotels is it referring to?
12
            • Will these hotels provide conditions and services that comply with the
13
     Flores Agreement?
14          Also troubling is the ICE Report’s statement that “[g]iven the very limited
15   nature of operations at this time, ICE will not assign additional personnel and
16   resources to monitor conditions of its facilities housing Class Members.” Id.at 2.
17   The Court should inquire:
18          • What exactly does this statement mean?
19          • Does this statement impact the role of the ICE Juvenile Monitor, and if so,
20   how?
21          The ICE Report also states that as on April 1, 2022, there were no Class
22   Members in the FSCs or EFSC ...” Id. at 3. The Court should inquire:
23          • Is CBP releasing families with Class Members or turning them over to
24   ICE for processing and release?

25          • If CBP is transferring families to ICE, how and where is ICE processing

26   the families for release such that as of April 1, 2022, there were no accompanied

27   Class Members in ICE. custody?

28

                                                2          PLAINTIFFS RESPONSE TO JUV COORDINATOR REPORTS
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 1         2.      CBP JUVENILE COORDINATOR’S REPORT

 2         The Order also requires that the CBP interim report shall cover : (i) a

 3   census of Class Members in CBP custody in the Rio Grande Valley sector; (ii) an

 4   update on CBP’s policies and capacity for processing minors in light of COVID-
     19, Title 42, and the ongoing influx; (iii) an update as to whether the conditions at
 5
     the Donna Centralized Processing Center (CPC-DNT), the temporary outdoor
 6
     processing site, and any other facility that serves as a hub for processing minors
 7
     are safe and sanitary under FSA Paragraph 12; and (iv) a status update, if any, on
 8
     CBP construction or renovation projects related to processing Class Members.
 9
     Order at 2.
10
           The CBP Juvenile Coordinator’s April 8, 2022 Report (“CBP Report”)
11
     (Doc. # 1240-1) indicates that along the SW border family unit (FMU) encounters,
12
     including both adults and children, decreased by 17%, from January to February,
13
     2022, while unaccompanied children (UCs) encounters increased by 37%. Id. at 2.
14         On average, in February 2022, there were 520 UCs in CBP custody per day
15   in the SW Border. Id. at 4. On March 10, 2022, there were 565 UC Class
16   Members and 1,252 accompanied Class Members detained in the SW Border, and
17   207 UC Class Members and 489 accompanied Class Members detained in the
18   RGV Sector. Id.
19         The CBP Report states that in February 2022 UC Class Members spent an
20   average of 22 hours and accompanied Class Members an average of 66 hours in
21   CBP custody along the SW Border. Id. at 5. On March. 10, 2022, these numbers
22   changed slightly such that UC Class Members spent an average of 20.01 hours
23   and accompanied Class Members an average of 51.04 hours in CBP custody along
24   the SW Border.

25         In the RGV Sector, in February 2022 UC Class Members spent an average

26   of 20.75 hours and accompanied Class Members an average of 70.7 hours in CBP

27
28

                                                3          PLAINTIFFS RESPONSE TO JUV COORDINATOR REPORTS
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 1   custody. Id.1

 2         The CBP Report states that “[a]ll UCs encountered in the United States are

 3   processed under Title 8 authorities and transferred to the custody of HHS, Office

 4   of Refugee Resettlement (ORR) or repatriated to a contiguous country in
     accordance with the Trafficking Victims Protection Reauthorization Act of 2008
 5
     [“TVPRA”].” Id at 6.
 6
           The Report does not explain what “processing” involves or how long it
 7
     usually takes for accompanied or unaccompanied Class Members. Historically,
 8
     processing involves questioning the detained migrant and completing an I-213
 9
     form, Record of Deportable/Inadmissible Alien. This form includes prior entries
10
     into or removals from the U.S., biographical information, and contact information
11
     for any relatives living in the U.S. Processing may also include fingerprinting and
12
     checking DHS databases to determine any prior removals or criminal history. CBP
13
     is also required by the Flores Agreement to provide Class Members with certain
14   forms. Agreement at ¶ 24D. While Defendants have not stated how long it takes
15   CBP to “process” a Class Member or an accompanying parent, it is unlikely the
16   procedure takes more than an hour.
17         Plaintiffs remain concerned with the length of time Class Members,
18   especially accompanied Class Members, are detained by CBP. This concern is
19   heightened by the following:
20         (i) Defendants’ failure to approve the settlement the parties dedicated over
21   two years to negotiate in response to most of the issues raised in Plaintiffs’ June
22   26, 2019, Ex Parte Application for a Temporary Restraining Order and an Order
23   to Show Cause Why a Preliminary Injunction and Contempt Order Should Not
24   Issue (“TRO/OSC Application”) [Doc. # 572]. This agreement in principle was

25   for the most part negotiated during the Trump administration and Defendants have

26
27   1
      On March 10, 2022, these numbers changed slightly such that UC Class Members
28   spent an average of 18.04 hours and accompanied Class Members an average of
     48.09 hours in CBP custody.
                                                4          PLAINTIFFS RESPONSE TO JUV COORDINATOR REPORTS
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 1   offered no reason why two years later it has not been finalized and approved by

 2   the Biden administration.

 3         (ii) The long detention in CBP custody that thousands of Class Members

 4   experience appears to take place with no efforts undertaken to comply with the
     parties’ Flores Agreement which requires, inter alia, that “[w]henever the
 5
     [Defendants] takes a minor into custody, [they] shall expeditiously process the
 6
     minor,” Agreement ¶ 12.A (emphasis supplied), and “[u]pon taking a minor into
 7
     custody, the [Defendants] ... shall make and record the prompt and continuous
 8
     efforts on its part toward family reunification and the release of the minor
 9
     pursuant to Paragraph 14 ...” Agreement ¶ 18 (emphasis supplied). “Such efforts
10
     at family reunification shall continue so long as the minor is in [Defendants’]
11
     custody.” Id. (Emphasis supplied).
12
           This compliance issue was raised in Plaintiffs’ June 26, 2019, TRO/OSC
13
     Application. However, barring an unexpected turn of events, it will remain
14   unresolved even if the parties’ CBP settlement in principle is finally approved by
15   Defendants and the Court.
16         (iii) As Plaintiffs discussed in their Response to Notice of Request for
17   Extension of Special Master/Independent Monitor Term (“Plaintiffs’ Response”)
18   [Doc. # 1243], four April 2022 detailed formal administrative complaints
19   submitted to DHS involve credible reports of CBP’s widespread mistreatment of
20   detained minors in violation of the Flores Agreement. Id. at 3-5. The complaints
21   were prepared by four organizations that provide legal service to unaccompanied
22   minors in ORR custody or recently released from ORR custody and are based on
23   interviews with several thousand Class Members. Id. See also Exhibits A-D filed
24   with Plaintiffs’ Response. [Doc. ## 1243-1 to 1242-4.]

25         In light of the above issues discussed above, Plaintiffs suggest the

26   following:

27         • Why are accompanied minors routinely detained by CBP far longer than
     unaccompanied minors?
28

                                               5           PLAINTIFFS RESPONSE TO JUV COORDINATOR REPORTS
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 1         • Are accompanied minors released with their parents by CBP or are they

 2   turned over to ICE for further processing and release?

 3         • What, if any, steps can the Court take to encourage Defendants to

 4   complete the settlement of Plaintiffs’ 2-19 TRO/OSC Application?
           • Does CBP comply with Paragraphs 12A and 18 of the Flores Agreement
 5
     when it detains Class Members (requiring commencement of immediate steps
 6
     aimed at release after apprehension), and if not, why not?
 7
           • How much of the time unaccompanied Class Members spend in CBP
 8
     custody is a result of CBP’s “processing” versus ORR’s failure to promptly accept
 9
     custody of unaccompanied minors?
10
11   Dated: April 15, 2022                 Respectfully submitted,
12
                                           /s/Peter Schey
13                                         Class Counsel for Plaintiffs
14
                                           CENTER FOR HUMAN RIGHTS &
15                                         CONSTITUTIONAL LAW
16                                         Peter A. Schey
                                           Carlos Holguín
17
18                                         USF SCHOOL OF LAW IMMIGRATION
                                           CLINIC
19                                         Bill Ong Hing
20
                                           LA RAZA CENTRO LEGAL, INC.
21                                         Stephen Rosenbaum
22                                         Counsel for Plaintiffs
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                                              6           PLAINTIFFS RESPONSE TO JUV COORDINATOR REPORTS
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                              CERTIFICATE OF SERVICE
 1
 2
           I hereby certify that on April 15, 2022, I served the foregoing pleading on
 3
     all counsel of record by means of the District Clerk’s CM/ECF electronic filing
 4
     system.
 5
 6                                         /s/Peter Schey
                                           Counsel for Plaintiffs
 7                                         CENTER FOR HUMAN RIGHTS &
 8                                         CONSTITUTIONAL LAW
                                           Peter A. Schey
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                                              7          PLAINTIFFS RESPONSE TO JUV COORDINATOR REPORTS
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